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7
8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,               No. 2:12-cv-00705-MCE-DAD
12              Plaintiff,                   Related Cases:
13         v.                                No. 2:12-cv-00706-MCE-DAD
                                             No. 2:12-cv-01631-MCE-DAD
14   REAL PROPERTY LOCATED AT 149 G          No. 2:12-cv-01632-MCE-DAD
     STREET, LINCOLN, CALIFORNIA,
15   PLACER COUNTY, APN: 008-266-
     015-000, et al.,
16                                           RELATED CASE ORDER
               Defendants.
17   _____________________________/
18   UNITED STATES OF AMERICA,               No. 2:12-cr-00294-MCE
19              Plaintiff,
20         v.
21   BART WAYNE VOLEN, GREGORY
     SCOTT BAKER and DARRELL
22   PATRICK HINZ,
23             Defendants.
     _____________________________/
24
25         The Court has received the Notice of Related Case filed on
26   August 17, 2012.
27   ///
28   ///

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1         Examination of the above-entitled civil actions reveals that
2    these actions are related within the meaning of Local Rule 123(a)
3    (E.D. Cal. 1997).   The actions involve the same parties, are
4    based on the same or a similar claim, and involve the same
5    property transaction or event.
6         Because the cases are already assigned to the same district
7    judge, this Order is issued for informational purposes only and
8    shall have no effect on the status of the cases.
9         IT IS SO ORDERED.
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     Dated: August 30, 2012
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12                                    _____________________________
13                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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